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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION



EMPIRE CORVETTE OF AMERICA, INC.,                     CASE NUMBER: 6:18-cv-26-ORL

               Plaintiff,
vs.


JUST TOYS CLASSIC CARS, LLC,

            Defendant.
_____________________________________/


           PLAINTIFF’S RESPONSE AND MEMORANDUM IN OPPOSITION
                           TO MOTION TO DISMISS

       COMES NOW the Plaintiff, EMPIRE CORVETTE OF AMERICA, INC. (hereafter

“EMPIRE”), by and through its undersigned counsel, and files this Response and Memorandum

in Opposition to Defendant’s Motion to Dismiss the Second Amended Complaint, and states as

follows:

                                      Introduction

       Plaintiff initiated this action seeking damages based on the Defendant’s, Just Toy Classic

Cars, LLC’s wrongful misappropriation of Plaintiff’s 1970 GTO Judge classic automobile.

Plaintiff’s Second Amended Complaint asserts causes of action against Just Toys Classic Cars,

LLC, for: a) civil theft; b) fraud; c) violation of Florida’s Deceptive and Unfair Trade Practices

Act; d) conversion; and, e) unjust enrichment. All the causes of action involve Defendant’s

wrongful conduct and misappropriation of the vehicle which Plaintiff owned and which Plaintiff

delivered to Defendant to sell on consignment.

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       Defendant filed a Motion to Dismiss the Second Amended Complaint (Document 18), to

which this Memorandum is responsive.



                                         Legal Standard

       A motion to dismiss for failure to state a claim merely tests the legal sufficiency of the

complaint; it does not decide the merits of the case. Milburn v. United States, 734 F.2d 762, 765

(11th Cir. 1984). In ruling on a Rule 12(b)(6) motion, the Court must accept the allegations set

forth in the complaint as true. Lotierzo v. Woman’s World Med. Ctr., Inc., 278 F.3d 1180, 1182

(11th Cir. 2002). In addition, in ruling on such motion, all reasonable inferences should be drawn

in favor of the plaintiff. Omar ex. Rel. Cannon v. Lindsey, 334 F.3d 1246, 1247 (11th Cir. 2003).

                                         Legal Argument

       The Defendant’s Motion to Dismiss is a veiled attempt to direct the focus of the case

away from the theft, deceptive acts and fraud committed by the Defendant. The Plaintiff pled,

with specificity, facts sufficient to establish that the Defendant took an automobile belonging to

the Plaintiff, promised to provide compensation for it, induced the Plaintiff into delivering the

title, and thereafter refused to provide the monies promised and similarly refused to return the

automobile. The actions as pled clearly constitute each of the elements of the various causes of

action pled. In fact, the Defendant does not assert in its Motion to Dismiss that any critical

element of any cause of action is missing. For that reason, the Plaintiff will not go through each

element of the various causes of action in this Memorandum.




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        Instead of addressing the causes of action pled, the Defendant is attempting to recast the

Plaintiff’s action in terms of a breach of contract in an effort to mask its misappropriation.

Simply stated, there is no contractual cause of action asserted in the Second Amended

Complaint. Instead, each of the causes of action asserted are based on the Plaintiff’s claims the

Defendant stole its automobile.

        As stated in the well pled allegation of the Second Amended Complaint, the contract

which the Defendant is trying to force the Plaintiff to utilize for its causes of action is not an

accurate reflection of any agreement of the parties. More specifically, as alleged in paragraphs

11 and 12 of the Second Amended Complaint, an ambiguous form contract was provided, which

document did not accurately set forth the agreement. This document was attached to the Second

Amended Complaint to set forth the context of the various discussions. There is no basis in law

for the Defendant to utilize a sloppily drafted form agreement it prepared, which agreement is of

questionable applicability, to deprive the Plaintiff of its right to assert claims for the

misappropriation of its vehicle.

        The Defendant’s argument seems to be that it should escape liability because it did not

know who it was stealing from. This argument is nonsensical, not to mention unsupported by the

allegations of the Second Amended Complaint. The well pled allegations of the Second

Amended Complaint repeatedly assert the Plaintiff was the owner of the automobile. See Second

Amended Complaint ¶¶ 9, 10, 36, 38, 60, and 61. Further, the Defendant certainly knew who the

owner was as it received a title certificate to the automobile from the Plaintiff. See Second

Amended Complaint ¶18. The fact that a document was attached to the Complaint which

identified a corporate principal instead of the entity itself does not act to deprive the entity of the

right to assert causes of action based on the theft of its property.


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                                            Conclusion

        Plaintiff’s Second Amended Complaint is clearly legally sufficient, in that it sets forth all

elements of each cause of action pled against Defendant. Further, the exhibits to such Second

Amended Complaint do not contradict the allegations of such pleading. Consequently,

Defendant’s Motion to Dismiss should be denied.



       WHEREFORE, Plaintiff, EMPIRE OF CORVETTE OF AMERICA, INC., respectfully

requests this Honorable Court deny Defendant’s Motion to Dismiss Second Amended Complaint,

and order such further relief as is deemed appropriate.




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of March, 2018, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will provide a copy

electronically to Michael Kest, Esquire, 1150 Louisiana Avenue, Suite 4, Winter Park, FL 32789.



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